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                                                  #:130767

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           16                              UNITED STATES DISTRICT COURT
           17              CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION
                    MASIMO CORPORATION,                   CASE NO. 8:20-cv-00048-JVS (JDEx)
           18       a Delaware corporation; and
                    CERCACOR LABORATORIES, INC.,          DECLARATION OF NORA
           19       a Delaware corporation,               PASSAMANECK IN SUPPORT OF
                                                          APPLE’S MOTION IN LIMINE NO. 3:
           20                          Plaintiffs,        EXCLUDE IRRELEVANT AND/OR
                                                          INFLAMMATORY STATEMENTS
           21              v.                             ATTRIBUTED TO APPLE’S
                                                          EMPLOYEES
           22       APPLE INC.,
                    a California corporation,
                                                          Date: Mar. 13, 2023
           23
                                       Defendant.         Time: 1:30pm
           24
                                                                  Pre-Trial Conference: Mar. 13, 2023
           25
                                                                  Trial: Mar. 28, 2023
           26
           27
           28
                    PASSAMANECK DECL. ISO APPLE’S MOTION IN LIMINE NO. 3
Wilmer Cutler
                                                                            CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
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                    PASSAMANECK DECL. ISO APPLE’S MOTION IN LIMINE NO. 3
Wilmer Cutler
                                                                           CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
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             1      I, Nora Passamaneck, declare and state as follows:
             2            1.    I am a partner at the law firm of Wilmer Cutler Pickering Hale and Dorr
             3      LLP, counsel for Defendant Apple Inc. (“Apple”) in the above-captioned matter.
             4            2.    I make this Declaration in support of Apple’s Motion In Limine No. 3:
             5      Exclude Irrelevant And/Or Inflammatory Statements Attributed To Apple’s Employees.
             6            3.    I have personal knowledge of the facts stated herein and, if called upon to
             7      do so, could and would competently testify thereto.
             8            4.    Attached hereto as Exhibit 1 (filed under seal) is a copy of Order No. 6
             9      Of Special Master On Two Discovery motions, dated April 11, 2022.
           10             5.    Attached hereto as Exhibit 2 (filed under seal) is a copy of the Declaration
           11       Of Jason Lo In Response To Order No. 6 Of Special Master On Discovery Motions,
           12       dated October 7, 2022.
           13             6.    Attached hereto as Exhibit 3 is a copy of Order No. 13 Of Special Master
           14       Regarding Three Discovery Motions, dated July 20, 2022.
           15             7.    Attached hereto as Exhibit 4 (filed under seal) is a copy of Order No. 16
           16       Of Special Master Regarding Three Discovery Motions, dated October 14, 2022.
           17             8.    Attached hereto as Exhibit 5 (filed under seal) is a copy of the transcript
           18       of the deposition of Jackie Harlow, dated August 5, 2022.
           19             9.    Attached hereto as Exhibit 6 (filed under seal) is a copy of the transcript
           20       of the deposition of Dr. Michael O’Reilly, dated September 22, 2022.
           21             10.   Attached hereto as Exhibit 7 (filed under seal) is a copy of a document
           22       produced with Bates numbers MOR_APL_MAS_00000116-173.
           23             11.   Attached hereto as Exhibit 8 (filed under seal) is a copy of a document
           24       produced by Apple with Bates number APL-MAS_00773163.
           25             12.   Attached hereto as Exhibit 9 is a copy of a document produced by Plaintiffs
           26       with Bates numbers MASA02957628-630.
           27
           28
                    PASSAMANECK DECL. ISO APPLE’S MOTION IN LIMINE NO. 3
Wilmer Cutler
                                                              1            CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
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             1            I declare under penalty of perjury under the laws of the United States of America
             2      that the foregoing is true and correct to the best of my knowledge.
             3            Executed this 13th day of February 2023.
             4
             5                                             By:
             6                                             Nora Passamaneck
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                    PASSAMANECK DECL. ISO APPLE’S MOTION IN LIMINE NO. 3
Wilmer Cutler
                                                                 2         CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
